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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


OHIO ENVIRONMENTAL COUNCIL,                          :
                                                     :    Case No. 2:21-cv-4380
               Plaintiff,                            :
                                                     :    JUDGE ALGENON L. MARBLEY
       v.                                            :
                                                     :    Magistrate Judge Jolson
U.S. FOREST SERVICE, et al.,                         :
                                                     :
                                                     :
               Defendant.                            :


                                             ORDER

       This matter is before this Court on Plaintiff and Federal Defendants’ Joint Motion to Stay

Briefing on Plaintiff’s Motion for Attorneys’ Fees and Costs. (ECF No. 60). The parties represent

that they intend to attempt to settle Plaintiffs’ request for fees under the Equal Access to Justice

Act, 28 U.S.C. § 2412, without court involvement. As a result, they request a 120 day stay of the

briefing on Plaintiff’s Motion for Attorney’s Fees (ECF No. 59) from the date of their joint motion.

       Upon consideration of Plaintiff’s and Federal Defendants’ Joint Motion to Stay Briefing

on Plaintiff’s Motion for Attorney’s Fees and Costs, it is hereby ORDERED that said motion (ECF

No. 60) is GRANTED. Briefing on Plaintiff’s Motion for Attorney’s Fees and Costs (ECF No.

60) is hereby STAYED until March 19, 2024. The parties shall file a joint status report with this

Court on or before that date.

       IT IS SO ORDERED.


                                              ALGENON L. MARBLEY
                                              CHIEF UNITED STATES DISTRICT JUDGE

DATED: December 5, 2023


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